PROCESS RECEIPT AND RETURN

U.S. Department of Justice

 

 

 

United States Marshals Service See “Instructions for Service of Process by U.S. Marshal"
en
PLAINTIFF COURT CASE NUMBER
L.W. et al v. Skrmetti et al / United States of America 3:23-cv-00376
DEFENDANT TYPE OF PROCESS
Jonathan Skrmeiti, Tennessee Attorney General Injunction

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE Jonathan Skrmetti, Office of the Tennessee StateAttorney General

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
John Sevier Building, 4th Floor, 500 Dr. Martin L. King, Jr. Blvd., Nashville, TN 37243

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285

 

Number of parties to be
served in this case

 

Check for service
on ULS.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

 

 

 

 

 

Signature of Attorney other Originator requesting service on behalf of: TELEPHONE NUMBER DATE
(_] PLAINTIFF
DEFENDANT
O 4/26/2023
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
T acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve
(Sign only for USM 285 if more E H E Digitally signed by MARNIE LEHEW
than one USM 285 is submitted) 1 No, 75 No. 75 MARNIE L Ww Date: 2023.04.27 10:28:31 -os'o0' = 4/27/2023

 

 

 

 

 

 

I hereby certify and return that I have personally served , [[] have legal evidence of service, [[] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

[ Thereby certify and return that | am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

Name and title of individual served (if not shown above) Date Time am
Sk. la S2.¢ z Ad min eteceds ee. Ase, 412712023 9:46 1] pm
Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

REMARKS

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Case 3:23-cv-00376 Document 77 Filed 05/02/23 Page 1 of 8 PagelD #: 695 Form USM-285
Rev.

 
PROCESS RECEIPT AND RETURN

U.S. Department of Justice

 

 

 

United States Marshals Service See “Instructions for Service of Process by US. Marshal"
an
PLAINTIFF COURT CASE NUMBER
L.W. et al v. Skrmetti et al / United States of America 3:23-cv-00376
DEFENDANT TYPE OF PROCESS
Tennessee Department of Health Injunction

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE Office of the Tennessee State Attorney General, Registered Agent

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
John Sevier Building, 4th Floor, 500 Dr. Martin L. King, Jr. Blvd., Nashville, TN 37243

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
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Number of parties to be
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Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

 

 

 

 

 

Signature of Attorney other Originator requesting service on behalf of: TELEPHONE NUMBER DATE
(] PLAINTIFF
DEFENDANT
O 4/26/2023
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
L acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve
(Sign only for USM 285 if more M ARN | E L E H EW Digitally signed by MARNIE LEHEW
than one USM 285 is submitted) 1 No. 75 No. 75 Date: 2023.04.27 10:28:31 -os'0' = 4/27/2023

 

 

 

 

 

 

[ hereby certify and return that I [kK] have personally served , [7] have legal evidence of service, [-] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

C] [hereby certify and return that | am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

Name and title of individual served (jfnot shown above) Date Time [x] am
Sk la Se 94, Ad min strats ve Ass? 42712023 | 9:46 CH pm
Address (complete only di iffere. ent than shown above) Signature of U.S. Marshal or Deputy

=AA Ci

Costs shown on attached USMS Cost Sheet >>

 

 

REMARKS

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Case 3:23-cv-00376 Document 77 Filed 05/02/23 Page 2 of 8 PagelD #: 696 — Formusm-285
Rev. 03/21

 
PROCESS RECEIPT AND RETURN

U.S. Department of Justice

 

 

 

United States Marshals Service See “/nstructions for Service of Process by U.S. Marshal"
nnn nniisinnintin enti
PLAINTIFF COURT CASE NUMBER
L.W. et al v. Skrmetti et al / United States of America 3:23-cv-00376
DEFENDANT TYPE OF PROCESS
Ralph Alvarado, Commissioner of the Tennessee Department of Health Injunction

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC, TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE Office of the Tennessee State Attorney General, Registered Agent.

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
John Sevier Building, 4th Floor, 500 Dr. Martin L. King, Jr. Blvd., Nashville, TN 37243

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285

Number of parties to be
served in this case

 

 

 

 

Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

 

 

 

 

 

 

Signature of Attorney other Originator requesting service on behalf of: TELEPHONE NUMBER DATE
[.] PLAINTIFF
DEFENDANT
O 4/26/2023
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
l acknowledge receipt for the total Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated, Origin Serve
(Sign only for USM 285 if more ARNIE LEHE Digitally signed by MARNIE LEREW
than one USM 285 is submitted) 1 No, 75 No. 75 M | HEW Date: 2023.04.27 10:28:31 -os'00' 4/27/2023

 

 

 

 

 

 

I hereby certify and return that I [X] have personally served , [-] have legal evidence of service, [] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

 

(1 [hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

Name and title of individual served (if not shown above) Date Time [x] am

<helasore, Adenstetire Asst 42712023 | 9.46 C1 pm
J sy }

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

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REMARKS

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Case 3:23-cv-00376 Document 77 Filed 05/02/23 Page 3 of 8 PagelD #: 697 — FormuSM-285
Rev. 03/21

 
U.S. Department of Justice PROCESS RECEIPT AND RETURN

 

 

 

United States Marshals Service See "Instructions for Service of Process by U.S. Marshal"
a es
PLAINTIFF COURT CASE NUMBER
L.W. et al v. Skrmetti et al / United States of America 3:23-cv-00376
DEFENDANT TYPE OF PROCESS
Tennessee Board of Medical Examiners Injunction

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE Office of the Tennessee State Attorney General, Registered Agent

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
John Sevier Building, 4th Floor, 500 Dr. Martin L. King, Jr. Bivd., Nashville, TN 37243

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285

Number of parties to be
served in this case

 

 

 

 

Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

 

 

 

 

 

 

Signature of Attorney other Originator requesting service on behalf of: TELEPHONE NUMBER DATE
("] PLAINTIFF
DEFENDANT
C] 4/26/2023
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
[acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 if more MARN | E LE H EW Digitally signed by MARNIE LEHEW

than one USM 285 is submitted) 1 No. 75 No. 75 Date: 2023.04.27 10:28:31 -os'00' 4/27/2023
I hereby certify and return that I have personally served , [[] have legal evidence of service, [7] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

 

 

 

 

 

 

 

) Thereby certify and return that 1 am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

Name and title of individual served (if not shown above) Date Time am
ShiilaSa¢ a, Admineteatec Asst, 412712023 9:46 CI pm
Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

SAA QL _____

Costs shown on attached USMS Cost Sheet >>

 

 

 

REMARKS

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Case 3:23-cv-00376 Document 77 Filed 05/02/23 Page 4 of 8 PagelD #: 698 Form USw

 
U.S. Department of Justice
United States Marshals Service

PROCESS RECEIPT AND RETURN

See "Instructions for Service of Process by US. Marshal"

 

PLAINTIFF COURT CASE NUMBER
L.W. et al v. Skrmetti et al / United States of America 3:23-cv-00376
DEFENDANT TYPE OF PROCESS
Tennessee Board of Medical Examiners, et ai (see below) Injunction

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC, TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE

Office of the Tennessee State Attorney General, Registered Agent

 

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

AT

John Sevier Building, 4th Floor, 500 Dr. Martin L. King, Jr. Blvd., Nashville, TN 37243

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

 

Phyllis E. Miller, Samantha McLerran, Deborah Christiansen, John W. Hale, Robert
Ellis, James Diaz-Barriga, Jennifer Claxton, Randall Pearson, Keith Anderson, John J.
McGraw, all in their official capacity at the Tennessee Board of Medical Examiners.

Number of process to be
served with this Form 285

 

Number of parties to be
served in this case

 

Check for service

on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

 

 

Signature of Attorney other Originator requesting service on behalf of: TELEPHONE NUMBER DATE

[.] PLAINTIFF

[1] DEFENDANT 4/26/2023

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

 

 

 

T acknowledge receipt for the total) Total Process _| District of District to Signature of Authorized USMS Deputy or Clerk Date

number of process indicated. Origin Serve

(Sign only for USM 285 if more MARN | E L E H EW Digitally signed by MARNIE LEHEW

than one USM 2835 is submitted) 1 No. 75 No. 79 Date: 2023.04.27 10:28:31 -os'00' = 4/27/2023

 

 

 

 

 

 

I hereby certify and return that I [x] have personally served , [_] have legal evidence of service, [7] have executed as shown in “Remarks”, the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

 

C] Thereby certify and return that [ am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

Time

9:46

Name and title of individual served (if not shown above) Date

Sher la Sa¢ 2, Ad ininisteats ee Ae 4/27/2023

[x] am
LJ pm

 

 

Signature of U.S. Marshal or Deputy

C2-———

Address (complete only different than shown above)

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Costs shown on attached USMS Cost Sheet >>

 

REMARKS

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Form USM-285
Rev. 03/21

Case 3:23-cv-00376 Document 77 Filed 05/02/23 Page 5 of 8 PagelD #: 699

 
U.S. Department of Justice PROCESS RECEIPT AND RETURN

 

 

 

United States Marshals Service See “Instructions for Service of Process by U.S. Marshal”
a
PLAINTIFF COURT CASE NUMBER
L.W. et al v. Skrmetti et al / United States of America 3:23-cv-00376
DEFENDANT TYPE OF PROCESS
Melanie Blake, President of the Tennessee Board of Medical Examiners Injunction

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE Office of the Tennessee State Attorney General, Registered Agent

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
John Sevier Building, 4th Floor, 500 Dr. Martin L. King, Jr. Blvd., Nashville, TN 37243

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285

 

 

 

 

Number of parties to be
served in this case

 

Check for service
on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

 

 

Signature of Attorney other Originator requesting service on behalf of: TELEPHONE NUMBER DATE
("] PLAINTIFF

["] DEFENDANT

 

 

 

 

4/26/2023
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
T acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve
Si ly for USM 285 i ‘ Digitally signed by MARNIE LEHEW
ign onby Jer f 385 issu v sited) 1 No. 75 No. 75 MARNIE LEHEW Date: 2023.04.27 10:28:31 -0500 4/27/2023

 

 

 

 

 

 

| hereby certify and return that I [X] have personally served , [] have legal evidence of service, [] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

 

[-] I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

Name and title of individual served (if not shown above) Date Time [x] am
4/27/2023 :
sSSkk la Sage, Aalmiaywleatrue Asad: /27/ 9:46 Cl pm
Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

SAA 2A———

 

 

 

REMARKS

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Case 3:23-cv-00376 Document 77 Filed 05/02/23 Page 6 of 8 PagelD #: 700 Form USM
ev.

 
U.S. Department of Justice
United States Marshals Service

PROCESS RECEIPT AND RETURN

See "Instructions for Service of Process by U.S. Marshal"

PLAINTIFF

L.W. et al v. Skrmetti et al / United States of America

COURT CASE NUMBER
3:23-cv-00376

 

DEFENDANT

Stephen Loyd, Vice President Tennessee Board of MEdical Examiners

TYPE OF PROCESS
Injunction

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE

Office of the Tennessee State Attorney General, Registered Agent

 

AT

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

John Sevier Building, 4th Floor, 500 Dr. Martin L. King, Jr. Blvd., Nashville, TN 37243

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

 

served with this Form 285

Number of parties to be
served in this case

 

 

Check for service
on U.S.A.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):

 

Signature of Attorney other Originator requesting service on behalf of:

(] PLAINTIFF
[-] DEFENDANT

 

TELEPHONE NUMBER DATE

4/26/2023

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

l acknowledge receipt for the total
number of process indicated.
(Sign only for USM 285 if more
than one USM 2835 is submitted)

Total Process

1

District of
Origin
No. 15

District to Signature of Authorized USMS Deputy or Clerk Date
Serve
Digitally signed by MARNIE LEHEW
No. 75 MARNIE LEHEW ote: 2023.04.27 10:28:31 -0500 4/27/2023

 

 

 

 

 

 

I hereby certify and return that I [X] have personally served , [7] have legal evidence of service, [[] have executed as shown in "Remarks", the process described on the
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1] Thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

Name and title of individual served (if of shown above)

Sk. la Sane, Admiustatiu Acct

Date
4/27/2023

 

Time

9:46

[x] am
C] pm

 

Address (complete only different than shown above)

SAA

Signature of U.S. Marshal or Deputy

CLT

 

 

Costs shown on attached USMS Cost Sheet >>

 

REMARKS

Onc egedyy are Cv) hare Beles

 

Case 3:23-cv-00376 Document 77 Filed 05/02/23 Page 7 of 8 PagelD #: 701

Form USM-285
Rev. 03/21

 
U.S. Department of Justice
United States Marshals Service

PROCESS RECEIPT AND RETURN

See "Instructions for Service of Process by U.S. Marshal"

 

PLAINTIFF COURT CASE NUMBER
L.W. et al v. Skrmetti et al / United States of America 3:23-cv-00376
DEFENDANT TYPE OF PROCESS

Logan Grant, Executive Director of Tennessee Health Facilities Commission

 

Injunction

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE

Office of the Tennessee Attorney General, Registered Agent

 

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

John Sevier Building, 4th Floor, 500 Dr. Martin L. King, Jr. Blvd., Nashville, TN 37243

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

 

served with this Form 285

 

Number of parties to be
served in this case

 

Check for service
on U.S.A.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):

 

 

 

 

 

Signature of Attorney other Originator requesting service on behalf of: TELEPHONE NUMBER DATE
(_] PLAINTIFF
DEFENDANT
CJ 4/26/2023
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
T acknowledge receipt for the total) Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve
(Sign only for USM 285 if more M ARNI Digitally signed by MARNIE LEHEW
than one USM 285 is submitted) 1 No. 75 No. 75 NIE LEHEW Date: 2023.04.27 10:28:31 -o5'00° = 4/27/2023

 

 

 

 

 

 

I hereby certify and return that I have personally served , ([] have legal evidence of service, [_] have executed as shown in "Remarks", the process described on the
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(1 [hereby certify and return that 1 am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

Name and title of individual served (if not shown above)

Skila Sy é NA ineeolnet hee Asc

Date
4/27/2023

Time

9:46

am
[] pm

 

 

Address (complete only different than shown above)

Shh

Signature of U.S. Marshal or Deputy

 

 

 

Costs shown on attach M.

ost Sheet >>

 

 

REMARKS

(dre /:) Deputy Coe ore) ler p miles

 

Case 3:23-cv-00376 Document 77 Filed 05/02/23 Page 8 of 8 PagelD #: 702

Form USM-285
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